Case 3:17-cv-00072-NKM-JCH Document 170 Filed 01/03/18 Page lof2 Pageid#: 777

AO 440 (Rev. 06/12) Summons in a Civil Action

 

UNITED STATES DISTRICT COURT

for the

Western District of Virginia

ELIZABETH SINES, SETH WISPELWEY, MARISSA
BLAIR, TYLER MAGILL, APRIL MUNIZ, HANNAH
PEARCE, MARCUS MARTIN, , JOHN DOE, JANE

DOE 1, JANE DOE 2, and JANE DOE 3

 

Plaintiff(s)

v. Civil Action No, 3:17-cv-00072-NKM

JASON KESSLER, RICHARD SPENCER,
CHRISTOPHER CANTWELL, JAMES ALEX
FIELDS, JR., VANGUARD AMERICA, ANDREW
ANGLIN, MOONBASE HOLDINGS, LLC, et al.

 

Ther Nae Nie Ne Na Na Ng Ni Nie Nl Na

Defendant(s)
SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) Moonbase Holdings, LLC
c/o Andrew Anglin
1017 Colony Way
Columbus OH 43235

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,
whose name and address are: Robert T. Cahill, Esq. (VA Bar # 38562)

Cooley LLP

11951 Freedom Drive, 14th Floor

Reston, VA 20190

Tel: (703) 456-8000 - Email: rcahill@cooley.com
Co-Counsel for Plaintiffs

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

CLERK OF COURT

Date:

 

 

Signature of Clerk or Deputy Clerk
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Civil Action No. 3:17-cv-00072-NKM

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (1))

This summons for (name of individual and title, if any)

 

was received by me on (date)

 

[1 I personally served the summons on the individual at (place)

 

on (date) ; or

 

[1 I left the summons at the individual’s residence or usual place of abode with (name)

, a person of suitable age and discretion who resides there,

 

on (date) , and mailed a copy to the individual’s last known address; or

O I served the summons on (name of individual) , who is

 

designated by law to accept service of process on behalf of (name of organization)

 

 

 

on (date) ; or
© I returned the summons unexecuted because ; or
O Other (specify):
My fees are $ for travel and $ for services, for a total of $ 0.00

I declare under penalty of perjury that this information is true.

Date:

 

Server's signature

 

Printed name and title

 

Server's address

Additional information regarding attempted service, etc:
